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10   CHRISTOPHER EDWARD COPE,
     CHRISTOPHER EDWARD MONTAGUE,
11   FABIAN ANDRES ACUNA, ADAM
     SPENCER KAMPF and DENTON BEDWARD
12
                       IN THE UNITED STATES DISTRICT COURT
13
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15

16   CHRISTOPHER EDWARD COPE,        Case No.
     CHRISTOPHER EDWARD MONTAGUE,
17   FABIAN ANDRES ACUNA, ADAM
     SPENCER KAMPF and DENTON BEDWARD,
18
                                                COMPLAINT FOR COPYRIGHT
19                     Plaintiffs,              INFRINGEMENT
     vs.
20
     WARNER RECORDS, INC., a Delaware
21   corporation, DUA LIPA, an individual, BOSCO
     KANTE, an individual, CLARENCE
22   COFFEE, JR., an individual, SARAH HUDSON,
     an individual, STEPHEN KOZMENIUK,           DEMAND FOR JURY TRIAL
23   an individual and DOES 1 through 10,
24                    Defendants.
     ________________________________________/
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28                    COMPLAINT FOR COPYRIGHT INFRINGEMENT
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 1          Plaintiffs CHRISTOPHER EDWARD COPE, CHRISTOPHER EDWARD

 2   MONTAGUE, FABIAN ANDRES ACUNA, ADAM SPENCER KAMPF and DENTON

 3   BEDWARD, for their complaint against WARNER RECORDS, INC., DUA LIPA,

 4   BOSCO KANTE, CLARENCE COFFEE, JR., SARAH HUDSON, an individual,

 5   STEPHEN KOZMENIUK, an individual and DOES 1 through 10, hereby allege:

 6                                           PARTIES

 7          1.     Plaintiff CHRISTOPHER EDWARD COPE is an individual resident of the

 8   State of Florida.

 9          2.     Plaintiff CHRISTOPHER EDWARD MONTAGUE is an individual

10   resident of the State of Florida.

11          3.     Plaintiff FABIAN ANDRES ACUNA is an individual resident of the State

12   of Florida.

13          4.     Plaintiff ADAM SPENCER KAMPF is an individual resident of the State

14   of Florida.

15          5.     Plaintiff DENTON BEDWARD is an individual resident of the State of

16   Florida.

17          6.     Defendant WARNER RECORDS, INC. (“WARNER”) is a corporation

18   organized and existing pursuant to the laws of the State of Delaware with its principal

19   place of business located in the Central District of California. WARNER is in the

20   business of recording and distributing musical performances.

21          7.     Defendant DUA LIPA is an individual resident of the United Kingdom.

22   She is a singer/songwriter who in 2020 recorded a song entitled “Levitating.” Her

23   recording of that song became an international best seller.

24          8.     DUA LIPA’s recording of “Levitating” was released in many formats by

25   WARNER including as a track on her album “Future Nostalgia,” as well as a single, as

26   several remixes and as videos. Various formats of the performance reached as high as

27                                        -2-
     _____________________________________________________________________________
28                    COMPLAINT FOR COPYRIGHT INFRINGEMENT
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 1   Number 3 on the United States Billboard 200 Chart and Number 2 on Billboard’s Hot

 2   100.

 3          9.     Defendants SARAH HUDSON, STEPHEN KOZMENIUK and BOSCO

 4   KANTE are, upon information and belief, all individual residents of Venice, California.

 5   Defendant CLARENCE COFFEE, JR. is an individual resident of Oakland, California.

 6          10.    The true names and capacities of the Defendants sued as DOES 1 through

 7   10, whether individual, corporate, associate or otherwise, are unknown to Plaintiffs who

 8   therefore sue such Defendants by fictitious names. Plaintiffs are informed and believe

 9   and thereupon allege that each of the Defendants designated as a fictitiously named

10   Defendant is in some manner responsible for the wrongful acts complained of herein. If

11   and when Plaintiffs ascertain the true names and capacities of DOES 1 through 10,

12   Plaintiffs will amend this Complaint to state their true names and capacities.

13          11.    Plaintiffs are informed and believe and thereupon alleges that at all relevant

14   times each of the Defendants was the agent and employee of each other Defendant and

15   acted within the course and scope of their respective agency and/or employment in the

16   performance of the wrongful acts alleged herein.

17                                JURISDICTION AND VENUE

18          12.    The subject matter jurisdiction of this Court is invoked pursuant to 28 USC

19   1331 because it involves copyright infringement under 17 USC §101, et seq.

20          13.    Venue is proper in this District pursuant to 28 USC §1391(b)(1) because

21   WARNER RECORDS has its principal place of business in this District and the other

22   Defendants conduct business in this district.

23                                             FACTS

24          14.    Plaintiffs are members of the band Artikal Sound System. Artikal Sound

25   System has been performing and touring together since 2010 and their album upon which

26   the song “Live Your Life” appears charted on the Billboard charts at number 2 in the

27                                        -3-
     _____________________________________________________________________________
28                    COMPLAINT FOR COPYRIGHT INFRINGEMENT
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 1   reggae section in 2017. They are the authors and copyright owners of the composition of

 2   the song entitled “Live Your Life.” Attached hereto as Exhibit A is a true and correct

 3   copy of the Certificate from the U.S. Copyright Office for “Live Your Life,” Registration

 4   Number PA 2-314-836.

 5          15.     “Live Your Life” is an original work which was written in 2017. Plaintiffs

 6   spent their time and talent creating and recording “Live Your Life.” and are entitled to

 7   full copyright protection.

 8          16.     “Live Your Life” was commercially released on CD Baby in 2017 and

 9   appeared on a variety of streaming services including Spotify, Pandora, Apple Music,

10   Amazon and Sound Cloud. The recording was and continues to be commercially

11   available.

12          17.     In 2020, on information and belief, Defendants listened to and copied “Live

13   Your Life” before and during the time when they were writing “Levitating.”

14          18.     “Levitating” is substantially similar to “Live Your Life.” Given the degree

15   of similarity, it is highly unlikely that “Levitating” was created independently from “Live

16   Your Life.”

17                                       CLAIM FOR RELIEF

18                      (For Copyright Infringement Against All Defendants)

19          19.     Plaintiffs repeat and incorporate by reference the allegations contained in

20   Paragraphs 1 through 18, above as though fully set forth.

21          20.     The acts of Defendants and DOES 1 through 10 constitute copyright

22   infringement under Title 17 of the United States Code.

23          21.     Defendants and DOES 1 through 10 acted willfully and in conscious

24   disregard for Plaintiff’s rights.

25          22.     Plaintiffs are entitled to an award of Defendants’ profits and actual

26   damages.

27                                        -4-
     _____________________________________________________________________________
28                    COMPLAINT FOR COPYRIGHT INFRINGEMENT
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 1         WHEREFORE Plaintiffs pray for relief as follows:

 2         1.     For actual damages in an amount according to proof;

 3         2.     For an award of Defendants’ profits attributable to the infringement in an

 4   amount according to proof;

 5         3.     For costs of suit herein; and

 6         4.     For such other relief as the Court may deem just and proper.

 7   Dated: March 1, 2022

 8   LAW OFFICES OF ROBERT S. BESSER

 9

10   By: s/ Robert S. Besser
        ROBERT S. BESSER
11   Attorneys for Plaintiffs

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15
                                  DEMAND FOR JURY TRIAL
16
           Plaintiffs CHRISTOPHER EDWARD COPE, CHRISTOPHER EDWARD
17
     MONTAGUE, FABIAN ANDRES ACUNA, ADAM SPENCER KAMPF and DENTON
18
     BEDWARD hereby demand a jury trial on all issues herein triable by a jury.
19
     Dated: March 1, 2022
20   LAW OFFICES OF ROBERT S. BESSER

21
     By: s/ Robert S. Besser
22      ROBERT S. BESSER

23

24

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     _____________________________________________________________________________
28                    COMPLAINT FOR COPYRIGHT INFRINGEMENT
